Case 2:15-cV-00522-.]ES-|\/|RI\/| Document 1 Filed 08/31/15 Page 1 of 12 Page|D 1

r--v' __r-`

~'.'.' e»¢ ,“ ,-
i\JI-…..'._|` ll`

IN THE UNITED S'I`ATES DISTRICT COUR'I` FOR 1 l

TI-IE MIDDLE DIS'I`RICT OF FLORIDA
FORT MY`ERS DIV"ISION

LARRY HARRINGTON and LORI

HARRINGTON, lil§_“€_li.°£l_“FtM'&l /'/UL/L\

Plainu'ffs Case No.
vs.
_]URY DEM_»’\NDED
REGIONS BANK
Defendant
/

 

PLAIN'I`IFFS LA.RRY HARRINGTON AND LORI HARRH\TGTON’S ORIGINAL
COMPLAINT AND DEMAND FOR ]URY TRIAL

1. Plainl;iffs Larry l-Iarrington and Lori H:u'rington (collectively “Plaintiffs") bring
this action to enforce the consumer-privacy provisions of the Telepbone Consurner
Protection Act (“'I`CPA”), a federal statute enacted in 1991 in response to widespread public
outrage about the proliferation of intrusive, nuisance telernarketing practices § 3c1 Mz`r)z_r n
Amml Fi:/. jemr., LLC, 132 S. Ct. 740, 745 (2()12).

2. “Voluminous consumer complaints about abuses of telephone technology -
for example computerized calls dispatched to private homes _ prompted Congtess to pass
the TCPA.” Icf. at 744. In enacting the TCPA, Congress intended to give consumers 21
choice as to how creditors and telem:irketers may call them. Thus, and as applicable here,
Section 227(1)) (1)(_»\)(i_ii) of the TCPA speciiically prohibits the making of "an_v call (other

than a call made for emergencylT purposes or made with the prior express consent of the

 

Pl;iintift's’ Original Complainr
`Page | 1

Case 2:15-cv-00522-.]ES-|\/|RI\/| Document 1 Filed 08/31/15 Page 2 of 12 Page|D 2

called party) using an}-' automatic telephone dialng system or an artificial or prerecorded
voice to any telephone number assigned to a cellular telephone service[.]”

3. The TCPA prohibits calls to a cell phone made vvith an auto dialer or With a
prerecorded voice unless prior express consent is given. Plaintiffs never so consented

4. Regions Bank (“Regions” or “Defendant”) called Plainiiffs’ cell phones
using an auto dialer and/ or a pre-recorded voice. Because Plaintii'fs had not given their
consent to receive calls on their cell phones from Regions, these calls violated the TCPi-‘~\.
5. This is the exact scenario Congress attempted to prevent in enacting the
'I'CPA. Plaintiffs now seek this Court's intervention and help in attempting to prohibit this
unlawful conduct

6. Plaint_iffs believe that Regions’ practices of violating the TCPA are

widespread Plaintiffs intend to propound discoveryr to Reg_ions identifying other individuals

who have suffered similar violations

Parties
71 Plaiotit'f Larry Harrington is a resident of the State of Flon`da and this
District.
8. Piaintiff Lori I-larrington is a resident of the State of Florida and this Disttict.
9. Larr_\' l-larrington is the "called party" With respect to the calls placed to his

cellular telephone number(s}: 239-470-530_/, 239-470-3995, 239-770-15.?.3 and 239-770-2717.
lO. Lori I-lari;ington is the "called party" \vith respect to the calls placed to
cellular telephone number 239-?70-1523.
ll. De§endant R.egions is a bank that regularly conducts business in Florida and

maintains its primary business location at 1900 Pit`th Avenue Nortb, Birmingham_ :\labama

 

Piaintiffs’ Origina.i Cornpla.inr
Page [ 2

Case 2:15-cV-00522-.]ES-|\/|RI\/| Document 1 Filed 08/31/15 Page 3 of 12 Page|D 3

35203. Regions can be served through its registered agent Corporation Service Company,
1201 Havs Street, Tallahassee, Florida 52301.
]urisdiction 8c Venue

12. 'Ihe Court has federal question subject matter jurisdiction over these TCPA
claims Mi)))_r a _»'int)sz'zmmia/ .S`cn)icz’r LLC, 132 S. Ct. ?40 (2012).

13. Venue is proper pursuant to 28 U.S.C. § 139 (b) because the Plaintiffs are
residents of this District.

'I`he Telephone Corisumer Protection Act

14. :`idvances in telecommunications technology have provided benefits to
American society. But those benefits are not cost~free; new technologies bring with them
new ways to intrude upon individual privacy and waste the time and money of consumers
The 19805 and 905 brought an explosion of abuses of telephone and facsimile technologye
including the use of auto-dialers to clog telephone lines with unwanted calls, “robocalls”
with unsolicited or unwanted, prerecorded messages, and “iunk faxes” that consume the
recipients’ paper and ink and interfere with the transmission of legitimate messages

15. In 1991, Congress enacted the TCPA to regulate the explosive growth of the
telex/marketing industry In so doing, Congress recognized that “[u]nrestticted telemarketing .
. . can be an intrusive invasion of privac)r [.]” Telephone Consumer Protection _*\ct of 199‘1,
Pub. l_.. No. 102-243, § 2(5) (1991) (codified at 47 U.S.C. § 227).

16. Through the TCP.-\, Congress outlawed telemarketing via unsolicited
automated or pre-recorded telephone calls (“roboca_lls”), finding:

[R]esidential telephone subscribers consider automated or prerecorded

telephone calls, regardless of the content or the initiator of the message, to
be a nuisance and an invasion of privacv.

 

Plaintift`s’ L)riginal Complaint
Page | 3

Case 2:15-cv-00522-.]ES-|\/|RI\/| Document 1 Filed 08/31/15 Page 4 of 12 Page|D 4

Banning such automated or prerecorded telephone calls to the home, except

When the receiving party consents to receiving the ca]l[,] . . . is the onliT

effective means of protecting telephone consumers from this nuisance and

privacy invasion
Ir!. § 2(10) and (12)', Ser nlra i\/Iz'/)).t, 132 S. Ct. at 745.

17. The TCPA regulates, among other things, the use of automated telephone
equipment, or “auto~dialers.” Specitically, the plain language of section 227®)(1)(1\)(5.'1)
prohibits the use of auto-dialers to make an}'r call to a Wireless number in the absence of an
emergency or the prior express consent of the called part_v.

18. According to findings by the FCC, the agency Congress vested With authority
to issue regulations implementing the TCPA, such calls are prohibited because, as Congress
found, automated or prerecorded telephone calls are a greater nuisance and invasion of
privacy7 than live solicitation calls, and such calls can be costly and inconvenient The FCC
also recognized that Wireless customers are charged for incoming calls whether they pay in
advance or after the tninutes are used. tier R)i/s.r amf Regrr!arim;.r l))qD/w)zeri!z`a;g t/)e Te/t_’/)/)o::e
Co):izm:er Pmi‘eriiori Ar! qf1991, CG Docket No. 02-278, Report and Order, 18 FCC Rcd
1401-l (2005).

19. On _lanuar_v 4, 2008, the FCC released a Declarator_v Ruling Wherein it
confirmed that autodialed and prereeorded message calls to a wireless number by a creditor
(or on behalf of a creditor} arc permitted only if the calls are made with the “prior express
consent” ot` the called partyl 5 rt l 21 ibt Ma;ier qflhr/e.t amf Reg:i[ntinii; lsa¢/e/)zei:lz`;g the Tefqoba)ie
Coi:.wr)z'.er Prorerzio)r¢-»-’lrf rif 1991 (“F‘CC Declaratoq-' Ruling”), 33 F‘C.C.R. 559, 23 FCC Rcd.

559, 43 Comrnunicarions Reg. (P&F) 877, 2003 \WL 65485 (_F.C.C.) (2()08).

 

Plaintif't`s’ Otiginal Compla.inr
Page | 4

Case 2:15-CV-00522-.]ES-|\/|RI\/| Document 1 Filed 08/31/15 Page 5 of 12 Page|D 5

20. The l_'*`CC “emphasize[d] that prior express consent is deemed to be granted
only if the wireless number was provided by the consumer to the creditor, and that such
number was provided during the transaction that resulted in the debt owed."’ jet FCC
Det'faratoiji Rrr/z'ticg, 23 F.C.C.R. at 564~65.

21. On_l`uly l(], 2015 the FCC confirmed it previous rulings that an
autodialer included equipment that generally has the capacity to store or produee, and
dial random or sequential numbers (and thus meets the TCPA’s definition of
“autodialer”) even if it is not presently used for that purpose, including When the
caller is calling a set list of consumers The FCC also reiterated that predictive dialers,
as previously described by the Cornmission, satisfyr the TCPA’s definition of
“autodialer” for the same reason FCC 15-72.

F actual Allegations

22. l_.arr§T Harrington` through his drywall compan_t', .‘\ced interior Dr_v\vall, lnc.,
secured a loan from AmSouth Bank (the “Loan”). Larr_v Harrington did not give AmSouth
Banl< his or any cellular number(s] When he obtained the Loan. .-*\t no time thereafter did
Plaintiffs give AmSouth Bank their cellular number(s) or permission to call their cellular
number(s).

23. Upon information and belief, Regions and ;‘irnSouth Banl; merged and
Regions allegedly acquired the Loan.

24. Llpon information and belief Regions began collection efforts on the Loan
and began a process of making telephone phone calls to Plaintiffs’ cell phones. The calls

continued until approximately _]ulv 2015. The purpose for these calls \vas debt collection

 

Plaintiffs’ Origi.nal Complaint
Page l 5

Case 2:15-cV-00522-.]ES-|\/|RI\/| Document 1 Filed 08/31/15 Page 6 of 12 Page|D 6

25. Calls were made by Regions to Plaintiffs at the following cellular numbers

(collectively the “Cell Phone Numbers”):
a. 239-470-53()7
b. 239-770-1523

26. Larry Harrington is the regular user of cell phone number 239-470-53(}7.
Lori l-larringron is the regular user of cell phone number 239-77()-1523.

27. C)n August 18, 2014 l_.arry Harrington wrote Regions a letter and instructed
Regions, ‘°Do not call any ofmy phones__ only Written communications only at the above
address.” Despite the letter, the calls continued

28. Larry lelarrington is the subscriber on the account For the Cell Phones
Numbers and is charged for calls made to the Cell Phones Numbers via a monthly charge.
At all material times Larry Harrington \vas/ is the subscriber to the cell phone service
associated with each of the Cell Phone Numbers and the cellular service provider for the
Cell Phone Numbers Was either Verizon or Metro PCS. The cellular service provider
initially was Verizon and then changed to l\/letro PCS.

29. Regions placed automated calls to Plaintift's’ cell phones using an automatic
telephone dialing system (“ATDS”) “\vhich has the capacity to store or produce telephone
numbers to be called, using a random or sequential number generator; and to dial such
numbers as speciEed by 47 U.S.C. § 227(21)(1).”

3(). 'When the calls connected, there Was an audible click from the receiver. After
a signi§cant pause, a message was left by Regions either by a live person or a prerecorded
voice. As such, the calls at issue \vere made using an automatic telephone dialing system,

equipment having the capacity to dial Plaintii"fs’ numbers without human intervention

 

Plaintiffs’ Original Complaint
Page | 6

Case 2:15-cV-00522-.]ES-|\/|RI\/| Document 1 Filed 08/31/15 Page 7 of 12 Page|D 7

31. The facts in the preceding paragraph indicate calls were placed through an
“automatic telephone dialing system” as defined in 47 U.S.C. § 227(a)(1).

32. On many of the calls Regions left a message consisting of a prerecorded
voice. Plaintiffs listened to the message and recognized that it was not a live person leaving
the message but an automated voice recording

33. The facts in the preceding paragraph indicate calls xvere placed using an
“arn'§c.ia.l or prerecorded voice.”

34. Plaintiffs have not provided Regions \vith the Cell Phone Numbers, their
cellular telephone number(s) or permission to call their cellular number(s) or the Cell Phone
Numbers.

35. None of the calls at issue were placed by Regions to Plainn`ffs" Cell Phone
Numbers for "emergency purposes" as specified by the TCPA, 47 U.S.C. §227 (b)(l)(A).

36. Beginning with the date four years before the filing of this Compla.int,
Regions placed phone calls to Plaintiffs" cellular telephone number(s) using an auto dialer or
with a prerecorded voice in an effort to collect the alleged debt on the l_.oan, and the calls
continued through at least_luly of 2015.

Legal Claims
Count One Against Regions:

Violation of the TCPA’s provisions prohibiting
auto-dialed and prerecorded message calls to cell phones

3'.". Plainn`ffs incorporate the allegations from all previous paragraphs as if fully
set forth herein

38. Regions repeatedly placed non-emergency telephone calls to Plainn'ffs`

 

Plainriffs’ Original Complaint
Pagc | 7

Case 2:15-cv-00522-.]ES-|\/|RI\/| Document 1 Filed 08/31/15 Page 8 of 12 Page|D 8

cellular telephone number(s) using an automatic telephone dialing system or prerecorded or
artificial voice without Plaintiffs’ prior express consent in violation of the federal law,
including 47 U.S.C. §ZZY(b}(l)(A)(iii). Thus, Regions violated the TCP:X by initiating a
telephone call using an automated dialing system or prerecorded voice to Plaintiffs’
telephone numbers assigned to a cellular telephone service.

39. Plaintiff is informed, believes and alleges that Regions’ violations of the
TCPA described above were done willfully and knowingly

40. The willful and knowing nature of Regions’ conduct is exhibited in part by
the following facts:

a. On August 18, 2014 l_.arry rlarrington wrote Regions a letter and told
Regions not to call any of his phones and requested only written communications from
chions yet the calls continued;

b. Regions is a large corporation with access to legal advice through its own
regulatory department and outside employment counsel and there is no contemporaneous
evidence that it determined that its conduct was lawful;

c. Regions knew or had reason to know that its conduct was inconsistent
with published FCC guidance interpreting the TCPA and the plain language of the statute',

d. Regions knew that Plaintiffs had not consented to calls to their cell
phones as Regions did not receive Plaintiffs’ cell phone numbers from Pla_intiffs;

e. Upon information and belief Regions knew that permission was required
before Regions could call Plaintiffs’ cell phone using an auto-dialer or a prerecorded voice;

f. Regions has been sued before for violations of the TCP.-‘-\; and

 

Plaintiffs’ Original Compla.inr
Page | S

Case 2:15-cV-00522-.]ES-|\/|RI\/| Document 1 Filed 08/31/15 Page 9 of 12 Page|D 9

g. Upon information and belief Regions was aware of the requirements of
the TCPA, but choose to not to comply with those requirements
41. Plaintiff is entitled to damages of $1,500 per violation pursuant to 47 L".S.C.
§227(b)(3) because the violations were willful and knowing violations of the 'I`CPA.
Demand for Preservation

42. Plaintiffs demand that Defendant retain and preserve all records related to the
allegations in this Complaint. Specincally, Plaintiffs’ demand for preservation includes, but is

not limited to, the following documents and information:

a. A]l applications for all accounts which were the subject of any collection
calls made by or on behalf of Defendant to Plaintiffs from August 28, 2011 to the present_;

b. r\ll documents evidencing the terms and conditions of all accounts which
were the subject of any collection calls made by or on behalf of Defendant to Plaintiffs from
August 28, 2011 to the present;

c. :\ll documents (including recordings and electronic documents}
evidencing any and all communications between Defendant and/ or any persons acting on its
behalf and Plaintiffs from August 28, 2011 to the present;

d. List of all phone numbers, including spoofed numbers, used by
Defcndant and/or persons acting on its behalf in making calls to Pla.intiffs from August 28,
2011 to the present;

c. -'-\ll recordings, transcripts and/ or summaries of all calls made by or on
behalf of Defendant to Plaintiffs from ;\ugust 28, 2011 to the present;

f. \ll written, recorded, electronic or other documentation or evidence
which Defendant contends shows that it obtained the prior express consent of Plainciffs to
call Plaintiffs using an auto‘dialer and / or using an artificial or prerecorded voicc;

g. All written, recorded electronic or other documentation or evidence of
any and all requests by Larn_' Harrington that calls made by or on behalf of Defendanr to
Larry l-larrington stopj.

h. All documents including but not limited to invoices, transmission logs` or
summary logs, provided to Defendant by any person or entity retained by Defendant to

 

Plaiiitiffs’ Original Complaint
Page | 9

Case 2:15-cv-00522-.]ES-|\/|RI\/| Document 1 Filed 08/31/15 Page 10 of 12 Page|D 10

make calls to cell phones using an auto-dialer and/ or an artincial or prerecorded voice from
August .'ZS, 2011 to the present, to the extent such documents pertain to calls made to
Plaintiffs;

i. All written__ recorded, electronic or other documentation or evidence
which provide all or any part of the following information:

(i) the dates, times and duration .of all calls made by or on behalf
of Defendant to Plaintiffs using an auto-dialer and / or an artidcial or prerecorded voice;

(ii) the number from which each call was made;

{iii] the number to which each call was made;

(iv) the identity of the intended recipient and actual recipient of
each call; and/ or
(v) the identity of the subscriber of each number called

j. All documents evidencing the name, make, model__ serial number,
version, and capabilities of all equipment, hardware, and/ or software used to make any calls
by or on behalf of Defendant to Plaintiffs and all documents evidencing which calls were
made using which equipment, hardware and/ or software',

k. All written, recorded, electronic or other documentation or evidence of
all policies or procedures implemented by Defendant with regard to the making of calls to
cell phone numbers using an automatic telephone dialing system and/ or an artificial or
prerecorded voicej.

1. All written1 recorded, electronic or other documentation or evidence
concerning Defendant's knowledge of the TCPA and the regulations and rulings of the FCC
thereunder; and

m. All written, recorded_. electronic or other documentation or evidence
concerning any lawsuits and/ or settlements and/ or settlement discussions to which
Defendant was a party and / or any demands upon Defendant which, in whole or in part,
pertain to the TCPA within the last five years.

43. Dernand is made on Defendant to notify any third parties or vendors

retained by Defenclant to make auto-dialer or artificial or prerecorded voice calls to Plaintiffs

and request production of any documents included within this demandl

Relief Sought

44. Plaintiffs request the following relief:

 

Plaintiffs’ Original Complaint
Page | 10

Case 2:15-cv-00522-.]ES-|\/|RI\/| Document 1 Filed 08/31/15 Page 11 of 12 Page|D 11

a. That Regions be found liable under the 'I`CP_-\ and Plaintiffs be awarded
actual damages, including emotional distress suffered as a result of the intentional, reckless
and/or negligent TCPA violations in an amount to be determined at trial for Plaintiffs or
statutory damages of 5500 per call for each negligent violation of the TCP:\_, and 31,500 per
call for each willful/ knowing violation of the TCPA; and

b. Plaintiffs be granted other relief as is just and equitable under the
circumstances

Plaintiffs request a jury trial as to all claims of the complaint so triable.

 

Plaintiffs’ ()riginai Comp[aint
Page | 11

Case 2:15-cv-00522-.]ES-|\/|RI\/| Document 1 Filed 08/31/15 Page 12 of 12 Page|D 12

Respectfull§-' submitted,

By: ,{.\'/ Bm'))daa_l. Hi//'
Brandon_l. Hi]l

Florida Bar Number: 37061
Wenzel Fenton Cabassa, PA.

l l l(_l Nortli Flt)rida .-*\Ve., Suite 300
Tampa, Florida 33602

Dit‘ect No.: 813-33_/-7992

h“ia_in NO,: 813-224-0431

FaCsirnile: 813-229-3712

Email: DM@_\I.M

B}-': /J'/ C/m'.\‘ R. rl/ii/tel)[?eri?€r
Chn`s R. Miltenberger
Texas Bar Number: 14171200

The Law Office of Chris R.
Miltenberger, PLLC

1340 N. W`hite Chapel, Suite 100
Southlake, Texas 76092-4522
817-416-5060 (office)
817-416-5062 (fax)
chris@crmlawptactice.com

Trz`cz/ Comn'r/
F;tl_)jer)‘ fe jpet~z'a/ _/ldr);z`.r.tz`oa m Pmrlz're and
Moz‘iw: Prr) Har l`\’.:'¢'c

Attornevs for Plaintiff

 

Plaintiffs" ()tiginal Complaint
Page ! 12

